
13 N.Y.2d 1036 (1963)
In the Matter of the Claim of Virginia G. Brocklebank, Respondent,
v.
Union Carbide International Company et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued October 30, 1963.
Decided November 21, 1963.
George J. Hayes and Joseph M. Soviero for appellants.
Louis J. Lefkowitz, Attorney-General (Daniel Polansky and Paxton Blair of counsel), for Workmen's Compensation Board, respondent.
No appearance for claimant-respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, BURKE, FOSTER and SCILEPPI. Judge VAN VOORHIS dissents and votes to reverse and to dismiss the claim upon the ground that there is no substantial evidence that this death arose out of and in the course of decedent's employment.
Order affirmed, with costs to respondent Workmen's Compensation Board; no opinion.
